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                           IN TilE UNITED STATES DISTRICT COURT
                            FOR TIlE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION                                            JUN   1   9 2014
                                                                                          CLiRK U.s. DISTRICT
                                                                                          WESTERN             ICT
                                                                                                                        Ce
    ACADEMY OF ALLERGY & ASTHMA                         §
                                                                                                                    F   TEXAS
    IN PRIMARY CARE et al.,                             §
                                                        §
          Plaintiffs,                                   §
                                                        §
    v.                                                  §    Civil Action No. SA-14-CV-35-OLG
                                                        §
    AMERICAN ACADEMY OF ALLERGY,                        §
    ASTHEMA & IMMUNOLOGY et al.,                        §
                                                        §
          Defendants.                                   §

                                                   ORI)ER
         Before the Court is Plaintiffs' motion to compel Defendants' compliance with Court

ordered discovery. Docket No. 87. On March 20, 2014, the Court ordered Defendants to respond

to three discovery requests. Docket No. 60.1 Plaintiffs allege that Defendants have improperly

withheld discovery responses under claims of privilege. Plaintiffs move to compel production of

responsive documents that they allege have been improperly withheld or redacted.

         The Court has reviewed Plaintiffs' motion, Defendants' response, and Plaintiffs' reply.

See Docket Nos. 87, 91 & 94. Among other items, the Court has reviewed Defendant AAAAI's

first amended privilege log and Defendant JCAAI's first amended privilege log. See Docket No.

87, Exs. N & P.         Defendants, as proponents of the privileges, must demonstrate how each

redacted or withheld document satisfies the elements of the asserted privilege. See               FED.   R. Civ.

P. 26(b)(5); In re Santa Fe Intern. Corp., 272 F.3d 705, 710 (5th Cir. 2001); Hodges, Grant &



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  These discovery requests were Interrogatory No. 3 and Requests for Production Nos. 2 & 3, attached as part of
Exhibit A to Plaintiff's motion for expedited discovery. See Docket No 30, Ex. A. Interrogatory No. 3 and Request
for Production 2 concern communications between Defendant Joint Council of Allergy, Asthma & Immunology
("JCAAI") and Aetna referenced in a JCAAI newsletter dated February 13, 2013. Request for Production 3
concerns materials and communications relating to a webinar on September 10, 2013 co-sponsored by JCAAI and
Defendant American Academy of Allergy, Asthma & Immunology ("AAAAI").
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Kaufrnann     v.   United States, 768 F.2d 719, 721 (5th Cir. 1985). Defendants' privilege logs do not

establish Defendants' entitlement to privilege. Among other things, the privilege logs do not

adequately describe the individuals involved in relevant communications and the nature of the

documents redacted or withheld. Thus, the Court is unable to determine whether Defendants'

privilege claims have merit.

        To assist the Court in resolving this discovery dispute, Defendants are ORDERED to

amend their privilege logs to adequately describe the individuals involved in the redacted and

withheld communications and to adequately describe the nature of the documents redacted or

withheld. Defendants may do so without revealing information itself privileged or protected. See

FED. R. Civ. P.       26(b)(5)(A)(ii). Among other disclosures, Defendants must identify all third-

parties who were involved in the redacted or withheld communications or to whom the

communications were disclosed.           Defendants must also identify all attorneys involved in the

communications, the parties the attorneys represented at the time of the communications, and the

nature of the attorneys' representation (e.g., in-house counsel, litigation counsel, or lobbyist).

Defendants may also provide any other relevant information to support their claims for privilege.

Defendants must file copies of their privilege logs with this Court and serve copies upon

Plaintiffs.

        Finally, the Court ORDERS Defendants to submit for in camera review unredacted

copies of all documents redacted or withheld as privileged.             Defendants may deliver the

unredacted copies directly to chambers.

        Defendants must comply with this Order on or before July 3, 2014.




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SIGNEDthis   j'dayofJune,2O14.
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                                  ORLANDO L. GARCIA
                                  UNITED STATES DISTRICT JUDGE
